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AO 93\(rev. l,l/l?'>) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin
ln the Matter of the Search of:

2 Facebook Accounts:

O’keef`e Wrong Doer - Facebook UID 100015440166237 -
“okeef`e.wrongdoer” and

LilHavz Grindhard ShineHard - Facebook UID
100006669729547 - “little.havz”

 

CaseNo. \‘%FG|SO i\/l (f\l;]#>

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer
An application by a federal law enforcement officer or an attorney for the government requests the search of the following person
or property located in the Eastern District of Wisconsin:

See Attachment A

l find that the affidavit(s) or any recorded testimony, establish probable cause to search and seize the person or property described
above and that such search will reveal:

See Attachment B

YOU ARE COMMANDED to execute this warrant ON OR BEFORE »2? (not to exceed 14 days)
|:l in the daytime between 6:00 a.m. and IO;OO p.m. E/af any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant7 or an officer present during the execution of the warrant, must prepare an inventory as required

by law and promptly return this warrant and inventory to Honorable Nancy Joseph
(United States Magistrate Judge)

 

|:l Pursuant to 18 U.S.C. § 3lO3a(b), l find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

|:lfor days (not to exceed 30) l:l until, the facts justifying, the later specific date of

Date and time issued: w l %/;'a{ J`/

//:H W
City and State:Milwaki:\_(z§§1 §`s§%g_sin_€€§ EE_`r la Filed 02/ b1 anc oise a . U.S. Ma istrate Jud e

 

 

AO 93 (mod. 5/14) Search and Seizure Warrant

 

Return

 

Case No: Date and time warrant executed: Copy of warrant and inventory left with:

1147-mg lz:az em weber

 

 

 

lnventory made in the presence of:

 

lnventory of the property taken and/or name of any person(s) seized:

- 6a AHM.¢J '

 

Certification

 

 

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
undersigned judge.

 

Date: 2-'];0|£_1

Execut¢g ojicer ’s signature

flaw f crew

l Prz`nted name and title

 

Subscribed, sworn to, and returned before me this date:

  

Date: .;-" 9"'"07-0/ C>

 

/ 9 Unit€ys Magis%wz Judge

 

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ATTACHMENT A
Property to Be Searched
This Warrant applies to information associated With the following Facebool<

Accounts associated With Ol<eefer Hool<er and Paul E. Anderson;

 

 

 

NAME FACEBOOK FACEBOOK NAME
’ IDENTIFICATION -UID

O’l<eefe Wrong Doer 100015440166237 ”ol<eefe.Wrongdoer"

LilHavz Grindhard 100006669729547 ”little.havz"

ShineHard

 

 

 

 

 

that is stored at premises oWned, maintained, controlled, or operated by Facebool< Inc.,

a Cornpany headquartered in Menlo Parl<, California.

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ATTACHMENT B

Particular Things to be Seized

I. Information to be disclosed by Facebook

To the extent that the information described in Attachment A is Within the possession,

custody, or control of Facebool< Inc. (”Facebool<”), including any messages, records,

files, logs, photographs, videos, or information that have been deleted but are still

available to Facebool<, or have been preserved pursuant to a request made under 18

U.S.C. § 2703(f), Facebool< is required to disclose the following information to the

government for each user ID listed in Attachment A:

(a)

(b)

All contact and personal identifying information, including for user
”okeefe.W_rongdoer” With user id 100015440166237: full name, user
identification number, birth date, gender, contact e-mail addresses,
Facebool< passwords, Facebool< security questions and answers, physical
address (including city, state, and zip code), telephone numbers, screen
names, Websites, and other personal identifiers.

All contact and personal identifying information, including for user
”little.havz” With user id 100006669729547: full name, user identification
number, birth date, gender, contact e-rnail addresses, Facebool<
passwords, Facebool< security questions and answers, physical address
(including city, state, and zip code), telephone numbers, screen names,

Websites, and other personal identifiers.

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(d)

(g)
(h)

All activity logs for the accounts and all other documents showing the
users’ posts and other Facebool< activities;

All photos and videos uploaded by those user le and all photos and
videos, including live video feeds, uploaded by any user that have either
of those users tagged in them;

All profile information; NeWs Feed information; status updates,' links to
videos, photographs, articles, and other items; Notes,' Wall postings; _
friend lists, including the friends’ Facebool< user identification numbers;
groups and networks of Which the user is a member, including the
groups’ Facebool< group identification numbers,' future and past event
postings; rejected ”Friend" requests; comments; gifts,' pokes,' tags,' and
information about the user's access and use of Facebool< applications,'
All other records of communications and messages made or received by
the users, including all private messages, chat history, video calling
history, and pending ”Friend” requests,'

All ”checl< ins” and other location information;

All IP logs, including all records of the IP addresses that logged into the
accounts,'

All records of the accounts’ usage of the ”Lil<e" feature, including all
Facebool< posts and all non-Facebool< Webpages and content that the users

”lil<ed" ,'

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II.

(i)

All information about the Facebook pages that the accounts are or were a
”fan" of;

All past and present lists of friends created by the accounts;

All records of Facebook searches performed by the accounts,'

All information about the users’ access and use of Facebook Marketplace;
The types of service utilized by the users;

The length of service (including start date) and the means and source of
any payments associated with the service (including any credit card or
bank account number);

All privacy settings and other account settings, including privacy settings
for individual Facebook posts and activities, and all records showing
Which Facebook users have been blocked by the account;

All records pertaining to communications between Facebook and any
person regarding the user or the users’ Facebook accounts, including

contacts With support services and records of actions taken.

Information to be seized by the government

All information described above in Sectionl that constitutes fruits, evidence and

instrumentalities of violations of Title 18, United States Code, Section 2119(1)

(Carjacking) and 924(c)(brandishing a firearm in furtherance of a crime of violence)

involving Okeefer Hooker, Paul Anderson, and Asia Rogers, including, for the user IDs

identified on Attachment A, information pertaining to the following matters:

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(a) Communications between known subjects Communications between
known subjects and unknown subjects Pictures of clothing and gun used
during armed robbery, Preparatory steps taken in furtherance of the
armed robbery, Photos of vehicles involved in the armed robbery,
including but not limited to, the stolen Rav4.

(b) Communications related to photos / attachments Communications related
to travel. Communications related to dates

(c) Evidence indicating how and When the Facebook accounts were accessed
or used, to determine the chronological and geographic context of account
access, use, and events relating to the crime under investigation and to the
Facebook account owners,'

(d) Evidence indicating the Facebook account owners’ states of mind as it
relates to the crime under investigation;

(e) The_ identity of the person(s) who created or used the user IDs, including
records that help reveal the Whereabouts of such person(s).

(f) The identity of the person(s) who communicated with the user IDs
100015440166237 and 100006669729547 regarding matters relating to the

aforementioned violations of the United States Code.

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Facebook Business Record

 

Service
Target
Account
ldentifier
Account Type
Generated
Date Range
NCMEC
Cybertips

Name

Registered
Emai|
Addresses

Vanity Name

Registration
Date

Registration lp

Account
Closure Date

Phone
Numbers

Credit Cards

PayPal
Accounts

Bank Accounts

Logins

Facebook
100015440166237
okeefe.wrongdoer
User

2018-11-15 19:52:39 UTC
2018-07-01 00:00.'00 UTC to 2018-10-30 23:59:59 UTC

First O'keefe
Middle
Last Wrong Doer

- 19 wom%f§

okeefe.wrongdoer

2017-02-19 21:32:58 UTC

216.4.56.173

Account Still true
Active

+14146990747 Ce|l Verified On 2018-06-29 22250:28 UTC
+14145542971 Ce|| Verifled

|P Address 107.77.173.12
Time 2018-08-29 16:57:21 UTC

lP Address 2607:fb90:283:2345:d0b4:b88a:989a:d022
Time 2018-08-23 16:12:28 UTC

lP Address 2607:fb90:283:2345:d58b:Cabd:1b6d:C791
Time 2018-08-23 07:25:19 UTC

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Facebook Business Record

 

Service
Target
Account
|dentifier
Account Type
Generated
Date Range
NCMEC
Cybertips

Name

Registered
Emai|
Addresses

Vanity Name

Registration
Date

Registration lp

Account
Closure Date

Address

Current City

Hometown

Languages
Listed by User

Phone
Numbers

Credit Cards

Facebook

100015440166237
100015440166237

User

2019-01-04 16:13:08 UTC

2017-01-01 OO:OO:OO UTC to 2018-10-06 23:59:59 UTC

First O'keefe

Midd|e

Last Wrong Doer

okeefe.wrongdoer

2017-02-19 21:32:58 UTC

216.4.56.173

Account Still true

Active

Street
City
State
Zip
Country

IZ’-l"i PMES

, Qlw\v-zm(>h$
' ti\zss~j£$

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Mi|waukee, Wisconsin (1416205875339580)

Minneapo|is, Minnesota (106300959405546)

+14146990747 Ce|l Verified On 2018-06-29 22:50:28 UTC

+14145542971 Ce|| Verified

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